        Case 1:20-cv-02250-RJL Document 25 Filed 04/24/21 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                                       )
SALVATORE MANCUSO GOMEZ,                               )
                                                       )
      Petitioner,                                      )   Civil Case: 20-cv-2250 RJL
                                                       )
v.                                                     )
                                                       )
CHAD F. WOLF, ACTING SECRETARY,                        )
U.S. DEPT. OF HOMELAND SECURITY, et al.                )
                                                       )
      Respondents.                                     )
                                                       )


                            JOINT STATUS REPORT

      Pursuant to the Court’s minute order of October 20, 2020, the parties

respectfully submit the following joint status report regarding Mr. Mancuso’s

(Petitioner’s) administrative process.


                        Background and Joint Status Report

      On August 17, 2020, Petitioner filed his Complaint [ECF No. 1] in this matter

and filed an Amended Complaint [ECF No. 14] on September 1, 2020.

1.    On September 2, 2020, the Court held a telephone motions hearing on

      Petitioner’s Motion for a Temporary Restraining Order [ECF NO. 6], which

      had been filed on August 18, 2020. The Court denied Petitioner’s Motion and

      instructed the parties to file a Joint Status Report on September 16, 2020,

      which the parties did.




                                         Page 1 of 3
        Case 1:20-cv-02250-RJL Document 25 Filed 04/24/21 Page 2 of 3




2.    On October 15, 2020, the parties filed a joint motion to stay proceedings and

      submit monthly status reports.      The Court granted the joint motion and

      ordered the parties to file a joint status report on or before November 12, 2020.

3.    As the Court noted during the September 2, 2020, hearing, and as the parties

      confirmed in their September 16, 2020, Joint Status Report [ECF No. 18], and

      the October 15, 2020, Joint Motion to Stay Proceedings [ECF No. 19],

      Petitioner is proceeding through an administrative process regarding his

      removal from the United States and the determination of the country to which

      he will be removed.

4.    The parties have continued to confer and agree that a stay of proceedings

      continues to be appropriate so as to permit the ongoing administrative

      proceedings to continue and to preserve the parties’ and the Court’s resources,

      as the administrative proceedings may resolve the need for further judicial

      intervention and proceedings. At this time the administrative proceeding is

      expected to take additional time; therefore, the parties respectfully suggest to

      the Court that further status reports be spaced every 90-days with the next

      report due July 24, 2021.


Dated: April 24, 2021




                                      Page 2 of 3
        Case 1:20-cv-02250-RJL Document 25 Filed 04/24/21 Page 3 of 3




Respectfully submitted,
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                                  Page 3 of 3
